          Case 2:15-cr-00014-APG-VCF Document 427 Filed 05/11/18 Page 1 of 5



 1   DAYLE ELIESON
     United States Attorney
 2   District of Nevada
     ALEXANDRA MICHAEL
 3   Assistant United States Attorney
     501 Las Vegas Boulevard South, Suite 1100
 4   Las Vegas, Nevada 89101
     Tel: 702.388.6336
 5   Fax: 702.388.5087
     Alexandra.m.michael@usdoj.gov
 6
                      UNITED STATES DISTRICT COURT
 7
                           DISTRICT OF NEVADA
 8                                -oOo-
 9   UNITED STATES OF AMERICA,                )
                                              )    Case No.: 2:05-cr-00014-APG-VCF
10                                            )
                  Plaintiff,                  )    RESPONSE TO DEFENDANT’S
                                              )    MOTION TO DIMISS FOR
11         vs.                                )    STATUTORY VAGUENESS
                                              )    (ECF No. 420)
12   OMAR QAZI,                               )
                                              )
                                              )
13                Defendant.                  )
14
           The United States of America, by and through Dayle Elieson, United States
15
     Attorney, and Alexandra Michael, Assistant United States Attorney, hereby files
16
     its Response to Defendant’s Motion to Dismiss for Statutory Vagueness
17
     (Defendant’s Motion). ECF No. 420. Defendant’s Motion should be denied because:
18
     (1) it is untimely under LCR 12-1(b), (2) it is duplicative of previous motions filed
19
     by the Defendant and ruled on by the court, and (3) 18 U.S.C.§ 922(g) is not void
20
     for vagueness.
21
           Defendant’s status as a pro se litigant does not free him of the responsibility
22
     to follow the law and the rules. See King v. Atiyeh, 814 F.2d 565, 567 (9th Cir.1987)
23

24                                             1
            Case 2:15-cr-00014-APG-VCF Document 427 Filed 05/11/18 Page 2 of 5



 1   (holding pro se litigants are bound by the rules of procedure). Defendant’s Motion is

 2   approximately the eighty first motion filed by the Defendant, not including

 3   supplements and objections, in a case where a grand jury returned a single count

 4   criminal indictment on January 20, 2015 charging the Defendant with being a

 5   Felon in Possession of a Firearm in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

 6   ECF No. 1. Defendant’s Motion is the ninth motion to dismiss the indictment filed

 7   by the Defendant, all of which have ultimately been denied by the court.1 The most

 8   recent motions deadline, set by the court was October 25, 2016, see ECF No. 213.

 9   The motions deadlines was never continued nor extended from that date.2 The

10   Defendant has not provided good cause for filing his motion almost nineteen

11   months after the motions deadline.                      The Defendant has also not provided an

12   explanation as to why his current argument was not presented in any of the prior

13   motions to dismiss the indictment filings.3 Defendant’s continuous and repetitive

14   motions filings have caused significant pretrial delay. As such, Defendant’s Motion

15   should be denied as untimely and duplicative of previously litigated motions.

16                If the court is not inclined to deny the motion as untimely and duplicative

17   then the court should deny Defendant’s Motion on the merits. Defendant’s

18   argument is that 18 U.S.C. § 922(g) is void for vagueness because it uses the term

19   “has” in referencing a firearm that has been shipped or transported in interstate or

20   foreign commerce as opposed to a firearm that “had” been shipped or transported in

21   1
       Motions to Dismiss the Indictment include: ECF No. 39 – 42, 78, 85, 99, 121, and 124. All of these motions have
     ultimately been denied by the court, see ECF No. 141, 146, 143, 149, and 183.
     2
22     The court set additional deadlines for responses, replies and supplemental briefing but never extended the motions
     deadline.
     3
       The government believes the Defendant has made this argument in previous filings that the court has ruled upon
23   however, the Defendant may not have previously filed a motion that deals with this argument alone in support of the
     relief he requests.
24

                                                         2
          Case 2:15-cr-00014-APG-VCF Document 427 Filed 05/11/18 Page 3 of 5



 1   interstate or foreign commerce. ECF No. 420 at 9. Defendant argues that it is

 2   unclear as to whether he is charged in the present or past tense. Defendant’s

 3   argument fails because he tries to focus on one word taken out of context and the

 4   meaning of the phrase doesn’t change whether the term has or had is used. The

 5   same term “has” is also used in another portion of the statute where it states “It

 6   shall be unlawful for any person who has been convicted in any court of, a crime

 7   punishable by imprisonment for a term exceeding one year” 18 U.S.C. § 922(g)(1).

 8   The term “has” when read in the statute 18 U.S.C. § 922(g) is not vague.

 9   Additionally, Defendant does not provide any legal authority specific to 18 U.S.C. §

10   922(g) in support of his argument. The Ninth Circuit has held that proof that a

11   firearm was manufactured out of state is all that is needed to meet the minimal

12   nexus to interstate commerce requirement under 18 U.S.C. § 922(g)(1). United

13   States v. Rousseau, 257 F.3d 925, 933 (9th Cir. 2001). The government need only

14   prove that the gun had at one time crossed state lines. United States v. Sherbondy,

15   865 F.2d 996 at 999 (9th Cir. 1988). The Ninth Circuit has also held that a

16   defendant’s knowledge of a firearm’s or ammunition’s interstate connection is

17   irrelevant because the interstate commerce element is purely jurisdictional and a

18   convicted felon cannot reasonably expect to possess firearms and ammunition free

19   from restriction. United States v. Stone, 706 F.3d 1145, 1147 (9th Cir. 2013).

20   Congress sought to reach possessions broadly, with little concern for when the

21   nexus with commerce occurred….a past connection with commerce is enough.

22   United States v. Sherbondy, 865 F.2d 996, 1000-1001 (9th Cir. 1988) quoting

23   Scarborough v. United States, 431 U.S. 563 at 577, 97 S.Ct. 1963 at 1970 (1977).

24

                                            3
          Case 2:15-cr-00014-APG-VCF Document 427 Filed 05/11/18 Page 4 of 5



 1         WHEREFORE, after consideration of the included facts, points, authorities,

 2   and arguments, the United States respectfully requests that this court deny

 3   Defendant’s Motion.

 4

 5                                                   Respectfully Submitted,

 6                                                   DAYLE ELIESON
                                                     United States Attorney
 7
                                                     /s/ Alexandra Michael
 8
                                                     ALEXANDRA MICHAEL
                                                     Assistant United States Attorney
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

                                          4
          Case 2:15-cr-00014-APG-VCF Document 427 Filed 05/11/18 Page 5 of 5



 1                              CERTIFICATE OF SERVICE

 2         I hereby certify that I am an employee of the United States Attorney’s Office

 3   for the District of Nevada and that on this day I filed an electronic copy of the above

 4   GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION via Electronic Case

 5   Filing (ECF) on May 11, 2018 and a copy will be mailed to the Defendant forthwith.

 6         Dated: May 11, 2018

 7                                                     /s/ Alexandra Michael
                                                       ALEXANDRA MICHAEL
 8                                                     Assistant United States Attorney

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

                                            5
